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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1718V
                                         UNPUBLISHED


    JUSTINE AMATO,                                            Chief Special Master Corcoran

                         Petitioner,                          Filed: December 12, 2019
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Gregory Spizer, Anapol Weiss, Philadelphia, PA, for petitioner.

Daniel Principato, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

       On November 6, 2018, Justine Amato filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left Shoulder Injury Related to
Vaccine Administration (SIRVA) after receiving the influenza (“flu”) vaccine on
September 14, 2017. Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

      On December 9, 2019, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, Respondent notes that Petitioner had no recent history of

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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pain, inflammation, or dysfunction of her left shoulder, pain occurred within 48 hours
after receipt of the vaccination, pain was limited to the shoulder where the vaccine was
administered, and no other condition or abnormality has been identified to explain
Petitioner’s shoulder pain. Id. at 2. Respondent further agrees that Petitioner suffered
the residual effects of her condition for more than six months. Id. At 3.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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